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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,           )
                                     )               Case No. 2:19-cv-2241
         Plaintiff,                  )
                                     )
         v.                          )
                                     )
 JERRY LAMBERD,                      )
 WYANDOTTE COUNTY, and               )
 KANSAS DEPARTMENT OF REVENUE, )
                                     )
         Defendants.                 )
 ____________________________________)

                                         ORDER

       Pursuant to D. Kan. R. 16.3(c)(2) and 16.3(c)(4), the United States has filed an

unopposed motion requesting relief from the requirement that a person with settlement

authority attend mediation in person in the above-captioned matter.

       Upon review of the motion, and for good cause, it is hereby ORDERED that the

United States’ motion is GRANTED. The United States shall attend mediation through

the in-person attendance of trial counsel, while the official with settlement authority on

behalf of the United States shall be available telephonically for consultation with trial

counsel for the duration of the mediation session.

       IT IS SO ORDERED.

       Dated November 18, 2019, at Kansas City, Kansas.

                                          s/ James P. O’Hara
                                          James P. O=Hara
                                          U.S. Magistrate Judge
